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                         UNITED STATES DISTRICT COURT
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                       CENTRAL DISTRICT OF CALIFORNIA
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                                WESTERN DIVISION
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     SECURITIES AND EXCHANGE                   Case No. ED CV13-00776-JAK (KKx)
14   COMMISSION,
                                               FINAL JUDGMENT AS TO
15               Plaintiff,                    DEFENDANT JANEES WILLIAMS
16         vs.
17   CITY OF VICTORVILLE, et al.,              JS-6: Janess Williams Only
18               Defendants,
19         and
20   KND HOLDINGS, INC.,
21               Relief Defendant.
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1          The Securities and Exchange Commission having filed a Complaint and
2    Defendant Janees Williams having entered a general appearance; consented to the
3    Court’s jurisdiction over Defendant and the subject matter of this action; consented to
4    entry of this Final Judgment without admitting or denying the allegations of the
5    Complaint (except as to jurisdiction); waived findings of fact and conclusions of law;
6    and waived any right to appeal from this Final Judgment:
7                                               I.
8          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is
9    permanently restrained and enjoined from aiding and abetting violations of Section
10   10(b) of the Securities Exchange Act (the “Exchange Act”) [15 U.S.C. § 78j(b)] and
11   Rule 10b-5(b) promulgated thereunder [17 C.F.R. § 240.10b-5(b)], by using any
12   means or instrumentality of interstate commerce, or of the mails, or of any facility of
13   any national securities exchange, in connection with the purchase or sale of any
14   security, to make any untrue statement of a material fact or to omit to state a material
15   fact necessary in order to make the statements made, in the light of the circumstances
16   under which they were made, not misleading.
17         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
18   provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
19   binds the following who receive actual notice of this Final Judgment by personal
20   service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
21   attorneys; and (b) other persons in active concert or participation with Defendant or
22   with anyone described in (a).
23                                              II.
24         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
25   Defendant is permanently restrained and enjoined from aiding and abetting violations
26   of Section 15B(c)(1) of the Securities Exchange Act (the “Exchange Act”) [15 U.S.C.
27   § 78o-4 and MSRB Rule G-17 by making use of the mails or any means or
28   instrumentality of interstate commerce to provide advice to or on behalf of a

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1    municipal entity or obligated person with respect to municipal financial products, the
2    issuance of municipal securities, or to undertake a solicitation of a municipal or
3    obligated person in contravention of MRSB Rule G-17, which requires brokers,
4    dealers, municipal securities dealers, and municipal advisors, in the conduct of its
5    municipal securities or municipal advisory activities, to deal fairly with all persons
6    and to not engage in any deceptive, dishonest, or unfair practice.
7           IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as
8    provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also
9    binds the following who receive actual notice of this Final Judgment by personal
10   service or otherwise: (a) Defendant’s officers, agents, servants, employees, and
11   attorneys; and (b) other persons in active concert or participation with Defendant or
12   with anyone described in (a).
13                                              III.
14          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
15   the Consent is incorporated herein with the same force and effect as if fully set forth
16   herein, and that Defendant shall comply with all of the undertakings and agreements
17   set forth therein.
18                                              IV.
19          IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that
20   this Court shall retain jurisdiction of this matter for the purposes of enforcing the
21   terms of this Final Judgment.
22                                              V.
23          There being no just reason for delay, pursuant to Rule 54(b) of the Federal
24   Rules of Civil Procedure, the Clerk is ordered to enter this Final Judgment forthwith
25   and without further notice.
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27   Dated: July 24, 2018                    ____________________________________
                                             JOHN A. KRONSTADT
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                                             UNITED STATES DISTRICT JUDGE
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